OPINION — AG — ** RETIREMENT — JUDGES — CREDIT UPON RE ELECTION OR REAPPOINTMENT ** IF A JUSTICE OR JUDGE CEASES TO BE A JUDICIAL OFFICER, FOR ANY REASON, BEFORE HE HAS ACCUMULATED EIGHT(8) YEARS OF ACCREDITED SERVICE, THE REFUND OF HIS RETIREMENT CONTRIBUTIONS IS MANDATORY. HOWEVER, UPON HIS RE ELECTION OR REAPPOINTMENT TO A JUDICIAL POSITION SUBSEQUENT TO THE BREAK IN SERVICE, HE MAY REDEPOSIT THE PREVIOUSLY REFUNDED CONTRIBUTIONS WITH INTEREST WHEREUPON HE WOULD BE ENTITLED TO CREDIT FOR HIS PRIOR JUDICIAL SERVICE AND WOULD BE ENTITLED TO RETIREMENT BENEFITS UPON THE ATTAINMENT OF AN ACCUMULATED EIGHT(8) YEARS OF ACCREDIT SERVICE. (ELIGIBILITY) CITE: 20 O.S. 1103 [20-1103], OPINION NO. 75-152, 20 O.S. 1101 [20-1101] 20 O.S. 1102 [20-1102], 70 O.S. 17-105 [70-17-105](1), OPINION NO. 74-120 (WILLAIM DON KISER)